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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA               )
                                       )
           v.                          )       Cr. No. 16-10236-MLW
                                       )
ROBERT M. PENA,                        )
     Defendant.                        )

                                     ORDER

WOLF, D.J.                                                      May 18, 2020


       The Bureau of Prisons has reported that defendant Robert

Pena tested negative for the COVID-19 virus again on May 18,

2020. See Dkt. No. 218. Accordingly, for the reasons stated at

the May 15, 2020 hearing, and pursuant to the May 18, 2020 Order

(Dkt. No. 217), it is hereby ORDERED that Pena's sentence is

modified   to    time-served;   his    term   of   Supervised      Release   is

increased to three years on the conditions stated in the May 15,

2020    Order,     which   include     home   confinement,      subject      to

electronic      location   monitoring,     until   January   26,    2022.    An

Amended Judgment has entered. See Dkt. No. 219. Therefore, the

Bureau of Prisons shall release Pena as promptly as possible

and, in any event, no later than 10:30 a.m. on May 19, 2020.
